           Case 2:23-cv-01495-JHC           Document 484   Filed 05/28/25   Page 1 of 53



 1                                                          THE HONORABLE JOHN H. CHUN

 2

 3

 4

 5

 6                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 7                                             AT SEATTLE

 8

 9   FEDERAL TRADE COMMISSION, et al.,
                                                           CASE NO.: 2:23-cv-01495-JHC
10                     Plaintiffs,
                                                           JOINT STATUS REPORT
11                v.

12   AMAZON.COM, INC., a corporation,

13                     Defendant.

14

15

16

17

18

19

20

21

22

23

24

     JOINT STATUS REPORT - 1                                     FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                      600 Pennsylvania Avenue, NW
                                                                            Washington, DC 20580
                                                                                   (202) 326-2222
           Case 2:23-cv-01495-JHC                      Document 484                 Filed 05/28/25               Page 2 of 53



 1                                                 TABLE OF CONTENTS

 2 I.       STATUS OF LITIGATION ............................................................................................... 3

 3 II.      JOINT REPORT ON THE STATUS OF DISCOVERY ................................................... 4

 4          A.        Party Discovery ....................................................................................................... 4

 5          B.        Third Party Discovery ............................................................................................. 5

 6 III.     OTHER ISSUES ................................................................................................................. 6

 7          A.        Case Schedule ......................................................................................................... 6

 8          B.        Economics Day ..................................................................................................... 19

 9          C.        Conferrals with Witnesses During Deposition Breaks ......................................... 19

10 IV.      PENDING MOTIONS ...................................................................................................... 28

11

12

13

14

15

16

17

18

19

20

21

22

23

24

     JOINT STATUS REPORT - 2                                                                   FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                                                    600 Pennsylvania Avenue, NW
                                                                                                          Washington, DC 20580
                                                                                                                 (202) 326-2222
            Case 2:23-cv-01495-JHC         Document 484        Filed 05/28/25       Page 3 of 53



 1          Pursuant to the February 13, 2024 Case Management Order (“CMO”), Plaintiffs Federal

 2 Trade Commission (“FTC”) and the states and territories of New York, Connecticut, New

 3 Hampshire, Oklahoma, Oregon, Pennsylvania, Delaware, Maine, Maryland, Massachusetts,

 4 Michigan, Minnesota, Nevada, New Jersey, New Mexico, Puerto Rico, Rhode Island, Vermont,

 5 and Wisconsin, by and through their respective Attorneys General (together, “Plaintiff States,”

 6 and collectively with the FTC, “Plaintiffs”) and Defendant Amazon.com, Inc. (“Amazon”)

 7 submit this joint status report in advance of the parties’ June 2, 2025 status conference with the

 8 Court.

 9 I.       STATUS OF LITIGATION

10          Plaintiffs filed the Complaint on September 26, 2023, Dkt. #1, and filed an Amended

11 Complaint adding Puerto Rico and Vermont as Plaintiffs on March 14, 2024, Dkt. #170. Amazon

12 filed a Motion to Dismiss the Complaint on December 8, 2023, Dkt. #127, which the parties

13 agreed and the Court ordered would be deemed to be Amazon’s Motion to Dismiss the Amended

14 Complaint, Dkt. #175. The Court granted the motion as to certain state law claims and otherwise

15 denied the motion on September 30, 2024, and granted leave to amend the dismissed state law

16 claims, Dkt. #289. The Court also granted Plaintiffs’ motion to bifurcate. Id.

17          Plaintiffs filed a Second Amended Complaint on October 31, 2024, amending state law

18 claims under the laws of Maryland, Pennsylvania, and New Jersey. Dkt. #326. Amazon filed a

19 motion to dismiss the amended Pennsylvania and New Jersey claims on November 14, 2024,

20 Dkt. #340, and the Court granted that motion on March 20, 2025. Dkt. #450. Amazon also filed

21 an Answer to the Second Amended Complaint on November 14, 2024. Dkt. #341. Amazon filed

22 a Motion for Judgment on the Pleadings as to the FTC’s claims on December 6, 2024. Dkt. #372.

23 The Court denied that motion on April 8, 2025, and denied Amazon’s request to certify the

24 matter for an interlocutory appeal. Dkt. #463.

     JOINT STATUS REPORT - 3                                          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
           Case 2:23-cv-01495-JHC          Document 484        Filed 05/28/25      Page 4 of 53



 1          On February 13, 2024, the Court issued a Case Scheduling Order, Dkt. #159, that

 2 included the following key dates:

 3          August 8, 2025                Close of Fact Discovery

 4          February 23, 2026             Close of Expert Discovery

 5          April 6, 2026                 Deadline to File Dispositive and Daubert Motions

 6                                        (with motions noted for June 15, 2026)

 7          September 28, 2026            Final Pretrial Conference

 8          October 13, 2026              Bench Trial

 9 II.      JOINT REPORT ON THE STATUS OF DISCOVERY

10          A.     Party Discovery

11          The parties are continuing to meet and confer regarding various discovery issues,

12 including:

13                Amazon’s responses to Plaintiffs’ interrogatories, including Amazon’s Amended

14                 Objections and Responses to Plaintiffs’ Second and Third Set of Interrogatories;

15                Amazon’s ongoing production of structured data, and associated data definitions;

16                Amazon’s privilege claims and the adequacy of Amazon’s privilege logs;

17                Amazon’s collection and production of documents in response to Plaintiffs’
18                 discovery requests, including Amazon’s collection and production of messages
19                 from custodians’ phones and devices and Amazon’s collection and production of
20                 recorded calls between Amazon employees and sellers;
21                Amazon’s compliance with the Court’s December 27, 2024 Order compelling the
22                 production of personnel files, Dkt. #389.
23 The parties are hopeful that they will be able to resolve or narrow their disputes through further

24 discussions, but will file discovery motions promptly if the parties come to an impasse.

     JOINT STATUS REPORT - 4                                          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
           Case 2:23-cv-01495-JHC          Document 484        Filed 05/28/25      Page 5 of 53



 1          Plaintiffs have taken the depositions of 18 Amazon employees or former employees and

 2 have noticed the depositions of an additional 45 Amazon employees or former employees. The

 3 parties have confirmed dates for 12 of these additional depositions. Amazon has proposed dates

 4 for an additional 28 witnesses Plaintiffs have noticed; Plaintiffs have informed Amazon they are

 5 prepared to accept those dates as part of an extension of the case schedule, and asked about an

 6 alternate date for one witness. Amazon is in the process of providing dates for 3 other witnesses.

 7 The parties are coordinating many of those depositions with the Coordinated Actions, as required

 8 by the Deposition Coordination Protocol and Order.

 9          In advance of the June 2 status conference, Amazon agreed that it will make best efforts

10 to serve any clawback notices for documents associated with a deposition witness (including for

11 documents where the witness is a custodian, author, sender, or recipient) one week or more

12 before the deposition, but Amazon does not waive the procedures specified in the ESI Order.

13 Plaintiffs reserve their rights to reopen the depositions of Amazon witnesses based on documents

14 Amazon produces after the deposition, including any documents Amazon withholds as privileged

15 but later produces, either voluntarily or pursuant to a determination that the documents are not

16 privileged. Amazon reserves all rights to object to the reopening of depositions based on later-

17 produced (including later-downgraded) documents.

18          The parties exchanged supplemental initial disclosures on March 21 and have agreed to

19 exchange a second round of supplemental initial disclosures (or confirm that they have no

20 updates to make) on June 2, 2025.

21          B.      Third Party Discovery

22          Plaintiffs have served 31 document subpoenas to third-party online retailers and

23 marketplaces, third-party logistics providers, and sellers, and will continue to issue additional

24

     JOINT STATUS REPORT - 5                                          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
           Case 2:23-cv-01495-JHC           Document 484        Filed 05/28/25      Page 6 of 53



 1 subpoenas on a rolling basis as needed. Plaintiffs are conferring with third-party subpoena

 2 recipients regarding the scope of their responses to Plaintiffs’ requests.

 3            Amazon has served 48 third-party subpoenas seeking documents from online retailers

 4 and marketplaces, third-party logistics providers, and sellers. Amazon is in the process of

 5 conferring with those parties to reach agreement on the documents to be produced in response to

 6 Amazon’s requests. Amazon expects to serve third-party document subpoenas on additional third

 7 parties, including additional retailers, fulfillment and logistics providers, and other relevant

 8 parties.

 9            The parties have agreed to regular exchanges of information about subpoenas to third

10 parties and third parties’ responses and objections. The parties have also agreed to hold joint

11 meet and confers when requested by third parties in order to minimize the burden of discovery

12 for them.

13            The parties have taken 20 depositions of third-party witnesses to date, including

14 coordinated depositions. To date, the parties have noticed an additional 14 depositions of third-

15 party witnesses, and have confirmed dates for 8 of those depositions. Plaintiffs and Amazon

16 anticipate noticing additional third-party depositions, and coordinating with plaintiffs in other

17 cases in scheduling and conducting these depositions.

18 III.       OTHER ISSUES

19            A.     Case Schedule

20            Plaintiffs’ Position:

21            A modest extension of the case schedule is necessary to allow the parties to complete fact

22 discovery in an orderly manner. Accordingly, Plaintiffs propose to extend the deadline for fact

23 discovery by two and half months, to October 22, 2025. Plaintiffs also propose adding two weeks

24 to each of the expert report deadlines to account for Amazon’s ongoing production of structured

     JOINT STATUS REPORT - 6                                            FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
              Case 2:23-cv-01495-JHC          Document 484       Filed 05/28/25       Page 7 of 53



 1 data that may be relevant to expert analyses and the time both sides may need to analyze and

 2 respond to each other’s reports given the volume of data in this case. Amazon has indicated that

 3 it is willing to extend fact discovery by six weeks, to September 19, but that its proposal is

 4 conditioned on shortening the deadlines for expert discovery in order to maintain an October

 5 2026 trial date. Plaintiffs do not believe that proposal is reasonable, given Amazon’s delays in

 6 producing documents and structured data and Amazon’s superior access to its own materials. As

 7 a result, the parties are at an impasse.

 8             The parties’ proposals are shown below.

 9       Event                  Current Deadline          Plaintiffs’ Proposal      Amazon’s Proposal
         Close of Fact          August 8, 2025            October 22, 2025          September 19, 2025
10       Discovery                                        [+75 days]                [+42 days]

11       Disclosure of          October 3, 2025         December 31, 2025           November 4, 2025
         Opening Expert         (56 days after close of (70 days after close of     (46 days after close of
12       Reports                fact discovery)         fact discovery) [+14        fact discovery) [-10
                                                        days]                       days]
13
         Disclosure of          December 1, 2025          March 16, 2026            December 19, 2025
14       Rebuttal Expert        (59 days after            (75 days after            (45 days after
         Reports                opening reports)          opening reports)          opening reports)
15                                                        [+16 days]1               [-14 days]
16       Disclosure of Reply    January 26, 2026          May 25, 2026              January 26, 2026
         Expert Reports         (56 days after rebuttal   (70 days after rebuttal   (38 days after rebuttal
17                              reports)                  reports) [+14 days]       reports) [-18 days]
18       Close of Expert        February 23, 2026         June 22, 2026             February 23, 2026
         Discovery              (28 days after reply      (28 days after reply      (28 days after reply
19                              reports)                  reports)                  reports)
20       Dispositive and        April 6, 2026           August 3, 2026          April 6, 2026
         Daubert motions        (42 days after close of (42 days after close of (42 days after close of
21                              expert discovery)       expert discovery)       expert discovery)
22

23

24   1
         March 14-15, 2026 is a weekend.

     JOINT STATUS REPORT - 7                                             FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                              600 Pennsylvania Avenue, NW
                                                                                    Washington, DC 20580
                                                                                           (202) 326-2222
           Case 2:23-cv-01495-JHC          Document 484       Filed 05/28/25     Page 8 of 53



 1   Event                    Current Deadline        Plaintiffs’ Proposal     Amazon’s Proposal
     Oppositions to           May 18, 2026            September 14, 2026       May 18, 2026
 2   Dispositive and          (42 days later)         (42 days later)          (42 days later)
     Daubert Motions
 3
     Reply Briefs In          June 15, 2026           October 12, 2026         June 15, 2026
 4   Support of               (28 days later)         (28 days later)          (28 days later)
     Dispositive and
 5   Daubert Motions
 6   Plaintiffs’ Pretrial     August 12, 2026         December 9, 2026         August 12, 2026
     Statement                (58 days later)         (58 days later)          (58 days later)
 7
     Settlement               August 14, 2026         December 11, 2026        August 14, 2026
 8   Conference held not      (2 days later)          (2 days later)           (2 days later)
     later than
 9   Defendants’ Pretrial     August 21, 2026         December 18, 2026        August 21, 2026
     Statement                (9 days after           (9 days after            (9 days after
10                            Plaintiffs’ Pretrial    Plaintiffs’ Pretrial     Plaintiffs’ Pretrial
                              Statement)              Statement)               Statement)
11
     MILs Filed               September 1, 2026       December 29, 2026        September 1, 2026
12                            (11 days after          (11 days after           (11 days after
                              Defendants’ Pretrial    Defendants’ Pretrial     Defendants’ Pretrial
13                            Statement)              Statement)               Statement)
14
     Proposed Pretrial        September 11, 2026      January 8, 2027          September 11, 2026
     Order                    (10 days later)         (10 days later)          (10 days later)
15
     Pretrial Conference      September 28, 2026      January 25, 2027         September 28, 2026
16
                              (17 days later)         (17 days later)          (17 days later)
17
     Trial Briefs, Proposed October 6, 2026           February 2, 2027         October 6, 2026
     Findings of Fact, and (8 days later)             (8 days later)           (8 days later)
18
     Proposed Conclusions
     of Law
19
     Trial                  October 13, 2026          February 9, 2027         October 13, 2026
                            (7 days later)            (7 days later)           (7 days later)
20

21

22          Plaintiffs’ proposed extension is necessary due to Amazon’s extensive efforts to obstruct

23 and delay discovery. As the Court is aware, the parties have had numerous disputes about the

24 scope of Amazon’s responses to Plaintiffs’ discovery requests and the deadlines for Amazon to

     JOINT STATUS REPORT - 8                                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                          600 Pennsylvania Avenue, NW
                                                                                Washington, DC 20580
                                                                                       (202) 326-2222
           Case 2:23-cv-01495-JHC          Document 484        Filed 05/28/25       Page 9 of 53



 1 complete its document productions (including Amazon’s initial opposition to the Court setting

 2 any deadline for those productions). See Joint Status Report at 3-4, 8-16 (June 3, 2024), Dkt.

 3 #246 (summarizing discovery disputes and noting Plaintiffs’ concerns about Amazon’s limited

 4 progress in discovery); Joint Status Report at 4-6, 8-25 (Aug. 28, 2024), Dkt. #273 (same); id. at

 5 34-35 (Amazon’s opposition to interim document production deadlines); Joint Brief Regarding

 6 Interim Deadlines (Sept. 17, 2024), Dkt. #284; Order Setting Interim Deadlines (Sept. 24, 2024),

 7 Dkt. #288. Ultimately the Court ordered Amazon to substantially complete its productions of

 8 custodial documents in two waves, by January 31 and March 24, 2025. Dkt. ## 288, 343. As a

 9 consequence of those deadlines, which fell over a year after Plaintiffs served most of their

10 document requests, and the time needed to review Amazon’s documents, Plaintiffs were not able

11 to begin depositions of Amazon witnesses until late March. Those depositions have been further

12 delayed and hindered by Amazon’s belated productions of over 190,000 documents it previously

13 withheld as privileged, including almost 60,000 documents that Amazon withheld during

14 Plaintiffs’ pre-Complaint investigation—documents that Amazon could and should have

15 produced years ago, before Plaintiffs even filed this case. Amazon is also continuing to produce

16 documents and data: it has produced hundreds of thousands of documents after its substantial

17 completion deadline, and is still investigating and “scoping” data requests. 2

18          Plaintiffs have been diligent in pursuing discovery. Even with the need to fight Amazon

19 on almost every conceivable discovery front, Plaintiffs have deposed 18 Amazon employees or

20

21   2
    Amazon claims that its post-March 24 productions “primarily consist of documents sought by
   [Plaintiffs’ Fifth and Sixth Sets of RFPs], for which Amazon agreed to provide additional
22 custodians and search terms.” That is incorrect. Amazon has produced hundreds of thousands of
   documents after March 24 that are responsive to Plaintiffs’ earlier document requests. Amazon
23 has also not yet produced any materials in response to Plaintiffs’ Sixth Set of RFPs, which is a
   data request. Plaintiffs are also still waiting for Amazon to produce certain data in response to
24 Plaintiffs’ Third Set of RFPs, which were served over a year ago.

     JOINT STATUS REPORT - 9                                          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
          Case 2:23-cv-01495-JHC          Document 484        Filed 05/28/25      Page 10 of 53



 1 former employees and conducted 20 third-party depositions to date. The majority of those

 2 depositions have been coordinated with other cases, as required by the Coordination Order and

 3 Deposition Protocol. But there remains much to be done. As of this filing, there are at least 45

 4 Amazon depositions that remain to be taken (of which 38 are coordinated depositions that will

 5 take place across two days), and 14 additional third-party depositions that have been noticed.

 6 That does not account for the additional third-party depositions that both sides will notice.

 7 Amazon recently advised the Court in the California action that it “anticipates deposing between

 8 20 and 30 additional third-party witnesses” and that “most, if not all, of these depositions will be

 9 coordinated.” Plaintiffs likewise plan to notice additional third-party depositions.

10          Under the current working deposition schedule Plaintiffs have been negotiating with

11 Amazon—which already extends out to September 19—there will be at least three depositions

12 every week (many of which will be two-day depositions) from mid-June through the end of July,

13 and in at least one week in August. There will be at least five weeks with four depositions. That

14 is before adding in 6 third-party depositions that have been noticed but not scheduled, the

15 inevitable depositions that will need to be rescheduled due to changes in witness or attorney

16 availability (such as the two Amazon depositions Amazon has asked to reschedule so far), and

17 additional depositions that will be noticed.

18          The Court Should Extend Fact Discovery to October 22. Without an extension of fact

19 discovery, deposition logistics will rapidly become unworkable—particularly given the need to

20 coordinate many depositions across several cases—and will sharply limit the parties’ ability to

21 accommodate the schedules of third parties and witnesses when scheduling depositions.

22 Plaintiffs believe that a 75-day extension of fact discovery will allow for the depositions of both

23 Amazon and third-party witnesses in a manner that will limit the burden on third-party

24 witnesses, while keeping this case moving towards trial as quickly as possible. Amazon’s

     JOINT STATUS REPORT - 10                                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
          Case 2:23-cv-01495-JHC            Document 484        Filed 05/28/25      Page 11 of 53



 1 position appears to be that because Amazon can schedule its witnesses who have been noticed

 2 for depositions by September 19, Amazon “do[es] not see a need for extra weeks of fact

 3 discovery after the last Amazon witness deposition has been completed.” However, that

 4 approach does not account for the need to schedule third-party depositions (including depositions

 5 that will be coordinated across several cases).

 6          Plaintiffs have conferred with the plaintiffs in the other cases that have been involved in

 7 coordination, and can represent that Plaintiffs’ proposal to extend the fact discovery deadline is

 8 acceptable to all plaintiffs in those cases. Plaintiffs also note that the District of Columbia is

 9 separately negotiating an overall schedule modification with Amazon. Plaintiffs’ proposal would

10 extend the deadline for coordinated discovery but would not limit further case-specific non-

11 coordinated discovery in the District of Columbia action.3

12          The Court Should Extend the Deadlines for Expert Reports by 14 Days. Despite

13 Plaintiffs’ efforts to keep data discovery moving as quickly as possible, Amazon’s production of

14 structured data has been repeatedly delayed by the time Amazon has taken to investigate and

15 “scope” those data requests. After over a year of negotiations, Amazon has not yet given

16

17   3
       Private Plaintiffs have agreed to align the fact discovery deadline in their cases with Plaintiffs’
     proposed fact discovery deadline for coordinated fact discovery. The People of the State of
18   California are not opposed to Plaintiffs’ proposed schedule extension, provided that: (1) the
     Amazon depositions confirmed for May and June, that are being coordinated with the FTC,
19   proceed as confirmed, (2) the Amazon depositions noticed by The People, which are not being
     coordinated with the FTC, proceed as confirmed; and (3) the balance of the pretrial dates in the
20   California action are continued by a commensurate number of days to be agreed between The
     People and Amazon, and trial set to commence no later than October 21, 2026. Plaintiffs believe
21   those issues can be addressed in the California case after an extension of the schedule in this
     case. See Ex. A, Case Management Conference Tr. 10:15-21, People of California v.
22   Amazon.com, Inc., Case No. CGC-22-601826 (May 14, 2024) (Court: “[I]f there is to be a
     substantial continuance of the discovery schedule in the FTC action, which currently has the
23   same discovery cutoff date as this action, and in light of the orders and stipulations that the
     depositions be coordinated in the two cases, obviously, that’s going to have a knock-on effect
24   here.”).

     JOINT STATUS REPORT - 11                                           FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
          Case 2:23-cv-01495-JHC            Document 484         Filed 05/28/25      Page 12 of 53



 1 Plaintiffs a final position about what Amazon will produce in response to some data requests,

 2 much less a date certain by which Amazon will make those productions. Those delays are

 3 impacting and will continue to impact the ability of Plaintiffs’ expert witnesses to prepare their

 4 opening reports. Meanwhile, Amazon has full access to its own data. Plaintiffs believe that a

 5 short extension of the expert report deadlines is warranted due to Amazon’s delays in data

 6 production. A short extension of the deadline for reply reports is also warranted in light of the

 7 considerable amount of data that has been produced in this case, which will affect the time

 8 Plaintiffs’ expert witnesses will need to analyze and respond to Amazon’s experts.

 9          Amazon’s proposal to reduce the amount of time set aside for expert reports would cut

10 weeks out of the time for Plaintiffs’ expert witnesses to prepare their opening and reply reports.

11 That would compound the prejudice to Plaintiffs resulting from Amazon’s delayed production of

12 data, and effectively reward Amazon for dragging its feet in discovery.

13          The only concrete rationale Amazon has given for opposing Plaintiffs’ proposals is

14 Amazon’s stated desire to keep an October 2026 trial date. However, Amazon has not identified

15 any prejudice it will face if this case is tried in early 2027. Any trial in this case is more than a

16 year away. There is enough time to reset the schedule in order to allow for the orderly

17 completion of both fact and expert discovery.

18          Moreover, even if a short extension of the schedule would inconvenience Amazon, that is

19 a self-inflicted injury. Since the outset of this case Plaintiffs have made every effort to move

20 forward as quickly as possible. To highlight just one example, in the parties’ first Joint Status

21 Report, Plaintiffs proposed interim deadlines for document and data production precisely to

22 avoid a scenario where Amazon’s delays forced an extension of the case schedule. See Joint

23 Status Report at 5-8 (Dec. 15. 2023), Dkt. #135; id. at 12-13 (“[Interim document production]

24 deadlines will ensure that the parties make steady progress in document discovery and avoid a

     JOINT STATUS REPORT - 12                                            FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                              600 Pennsylvania Avenue, NW
                                                                                    Washington, DC 20580
                                                                                           (202) 326-2222
          Case 2:23-cv-01495-JHC           Document 484        Filed 05/28/25      Page 13 of 53



 1 pile-up of late document discovery that might otherwise derail the discovery schedule or

 2 depositions.”); id. at 14 (“deadlines for the completion of structured data production . . . will

 3 ensure that the parties make steady progress in data discovery and avoid a pile-up of late data

 4 that might otherwise derail the discovery schedule or expert discovery”). Amazon largely

 5 opposed those deadlines, see id. at 6-7, opposed Plaintiffs’ later request to set interim deadlines

 6 for document production (which the Court ordered), see Joint Brief Regarding Interim Deadlines

 7 (Sept. 17, 2024), Dkt. #284, and then slow-walked discovery on every front. Amazon cannot

 8 reasonably complain that the Court’s initial schedule needs to be modified in order to account for

 9 Amazon’s ongoing and strategic delays in discovery.

10          Plaintiffs respectfully request that the Court enter Plaintiffs’ proposed schedule.

11          Amazon’s Position:

12          Amazon respectfully requests that the trial date of October 13, 2026, be maintained.

13 Plaintiffs have wrongfully portrayed Amazon’s practices of offering low prices, wide selection,

14 and fast delivery as somehow a threat to competition requiring expeditious remedy. Amazon

15 seeks the opportunity to go to trial on those unfair and inaccurate allegations on the scheduled

16 date of October 13, 2026, around which dozens of fact and expert witnesses, trial counsel for

17 Amazon, and – notably – the Court have structured the progress of this litigation. To meet the

18 trial date, Amazon has devoted considerable time and resources to meet Plaintiffs’ extensive

19 discovery demands. Amazon has proposed a six-week extension of the fact discovery deadlines

20 and a one-month extension of the expert discovery deadlines to accommodate Plaintiffs while

21 keeping the trial date. In the interest of fundamental fairness, Amazon requests that the Court

22 adopt Amazon’s proposed modification of interim deadlines, allowing the trial to proceed as

23 scheduled on October 13, 2026.

24

     JOINT STATUS REPORT - 13                                          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
          Case 2:23-cv-01495-JHC            Document 484        Filed 05/28/25       Page 14 of 53



 1          It was Plaintiffs who argued for a fast pretrial schedule and a large number of

 2 depositions. Amazon has incurred substantial expense to produce millions of documents and

 3 offer dozens of current and former executives for deposition within the short window demanded

 4 by Plaintiffs. Now, Plaintiffs have changed course and ask that the case be slowed down.

 5 Plaintiffs’ request for change in the schedule will require the extension of all of the deadlines in

 6 this case, result in a four-month delay of the trial, and require an adjustment of the schedules of

 7 at least three coordinated cases in multiple jurisdictions. To avoid that significant disruption

 8 while looking to find compromise, Amazon has proposed modest extensions of the fact and

 9 expert discovery deadlines that allow the subsequent pretrial and trial deadlines to remain

10 unchanged. As discussed below, Amazon has offered deposition dates that will allow the case to

11 proceed on schedule with only minor modifications. Amazon has offered dates for all of its

12 witnesses’ depositions on or before September 19, 2025. Plaintiffs do not and cannot explain

13 why they need an additional month, until October 22, to conduct those depositions. Plaintiffs’

14 request for a disruptive extension from the aggressive schedule that they requested should be

15 denied, as it is not needed to complete fact discovery and it will disrupt the carefully coordinated

16 schedules in related cases.

17          Plaintiffs Fail to Acknowledge the Disruption Posed by their Proposal.            Plaintiffs

18 assert that plaintiffs in other related cases are willing to adjust their fact discovery deadlines, but

19 Plaintiffs fail to address the other aspects of those cases that have been coordinated, including

20 expert discovery deadlines and trial dates—all of which have been either aligned with or

21 coordinated around this case. That coordination is the result of lengthy negotiations with

22 multiple plaintiff groups and orders from courts in different matters in different jurisdictions.

23 Amazon will be prejudiced if the expert deadlines become unaligned and it faces duplicative

24 deadlines and duplicative depositions of the same experts within a relatively short expert period.

     JOINT STATUS REPORT - 14                                            FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                              600 Pennsylvania Avenue, NW
                                                                                    Washington, DC 20580
                                                                                           (202) 326-2222
          Case 2:23-cv-01495-JHC           Document 484        Filed 05/28/25      Page 15 of 53



 1 This problem is especially present in the California action, where the opening expert reports are

 2 due on October 3—prior to the new fact discovery deadline Plaintiffs propose. Plaintiffs’

 3 proposal also fails to address that the trial dates in the various coordinated cases have been set

 4 around the schedule in this case. Plaintiffs offer no representations or assurances as to how this

 5 complicated scheduling issue would be resolved. Plaintiffs have been proceeding with and

 6 benefitting from taking coordinated discovery. Now they appear ready to abandon coordination

 7 to suit their own needs, while creating the burden for Amazon of duplicative expert discovery

 8 obligations, which coordination of discovery schedules was intended to avoid.

 9          A Further Extension Beyond September 19, 2025 is Not Necessary. Amazon has

10 already agreed to extend fact discovery six weeks to September 19 and proposed dates for the

11 depositions noticed by Plaintiffs by that date. In proposing dates, Amazon has largely been able

12 to accommodate the order of witnesses that Plaintiffs have requested. Given that all company

13 witness depositions will be concluded by September 19, there is no compelling reason to extend

14 the fact discovery period for an additional month after that date, as Plaintiffs request.

15          Plaintiffs do not explain why that additional month is needed. An extension should not

16 be granted if Plaintiffs are planning to take even more depositions than are currently noticed,

17 after complaining about their inability to conduct the existing depositions. Nor should an

18 extension be granted if Plaintiffs are simply planning to reschedule the current depositions.

19 Scheduling these depositions has been exceedingly difficult given the coordination required for

20 Plaintiffs’ schedules, the witnesses’ schedules, and counsel’s schedules. Many of the witnesses

21 are former employees, and scheduling during the summer months, in the sequencing requested

22 by Plaintiffs, has been extremely difficult. These witnesses have now blocked off time on their

23 calendars and scheduled other commitments around their depositions. With regard to Amazon

24 witnesses, Amazon has advised Plaintiffs multiple times that the fall is a particularly busy and

     JOINT STATUS REPORT - 15                                          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
           Case 2:23-cv-01495-JHC         Document 484         Filed 05/28/25     Page 16 of 53



 1 difficult time to schedule. Amazon has its annual planning meetings and, like all retailers, is in

 2 high gear to prepare for the holiday season. Amazon has advised Plaintiffs that rescheduling

 3 depositions into October and November will not be feasible and will only increase the burden on

 4 these witnesses.4

 5          Plaintiffs Sought Expansive Discovery Despite a Lengthy Pre-Litigation

 6 Investigation. Despite Plaintiffs’ attempt to shift blame onto Amazon, Plaintiffs find themselves

 7 in a quandary of their own making. The FTC began investigating this case in 2019 through a

 8 sprawling CID that resulted in the production of over 1.7 million documents and 100 terabytes of

 9 data, and the testimony of over two-dozen Amazon employees. After filing suit, Plaintiffs

10 requested a fast case schedule. Plaintiffs objected to the longer discovery timeline Amazon

11 proposed and sought a May 2026 trial date. See 12/15/2023 Joint Status Report at 11-12 (ECF

12 135).

13          Instead of engaging in targeted discovery to reflect a case honed as a result of a lengthy

14 investigation, however, Plaintiffs took the opposite approach: Plaintiffs have issued 400 requests

15 for production of documents and data. They insisted on over 120 document custodians and

16 initially proposed 90 depositions of Amazon employees and former employees (the Court

17 ordered 80). They expanded the scope of discovery by, for example, refusing to identify the

18 relevant market (despite having had a four-year investigation to assess it), declining to answer

19 interrogatories propounded by Amazon, and insisting on production of documents from

20 jurisdictions around the world for use in an indisputably U.S.-limited case. This is indicative of

21 Plaintiffs’ approach to the case – they have insisted on a fast schedule, citing vague threats of

22

23   4
    Plaintiffs note the number of concurrent depositions. Amazon presumes that Plaintiffs do not
   argue they lack the resources to prosecute this case under the current schedule. There are 72
24 Plaintiffs’ attorneys who have entered an appearance in this matter from 19 states and the FTC.

     JOINT STATUS REPORT - 16                                          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
          Case 2:23-cv-01495-JHC          Document 484        Filed 05/28/25     Page 17 of 53



 1 imminent harm, but have refused to conduct their case in order to meet the expedited deadlines

 2 that they themselves demanded.

 3          Amazon has made Herculean efforts to respond to Plaintiffs’ extensive and expansive

 4 discovery requests. Plaintiffs complain about a small percentage of the approximately 4.3

 5 million documents Amazon has made available to them in this case. Amazon has engaged in a

 6 massive document review, which has resulted in production of approximately 2.6 million

 7 documents (in addition to the 1.7 million produced in the investigation). Production of

 8 documents for “priority” custodians identified by Plaintiffs was substantially completed by

 9 January 31, with 1,014,928 documents produced by then. Production of documents for

10 remaining custodians was substantially completed by March 24, with 566,369 additional

11 documents produced between February 1 and March 24. In the middle of these efforts, Plaintiffs

12 served additional requests for production this year: a Fifth Set of RFPs on January 24, 2025 and

13 a Sixth Set on March 10, 2025. Even using Plaintiffs’ numbers, which Amazon does not

14 concede are correct, the documents produced after March 24 constitute approximately 4% of the

15 total documents produced in this case; in other words, by March 24, Plaintiffs already had

16 approximately 96% of the documents produced in this case. The documents Plaintiffs complain

17 Amazon is still producing currently primarily consist of documents sought by those Fifth and

18 Sixth Sets, for which Amazon agreed to provide additional custodians and search terms.

19          As noted above, Amazon has also provided two-day deposition windows for dozens of

20 employees of all different seniority levels and facilitated the availability of former employees

21 where possible.5 Amazon agrees that a reasonable extension of the schedule is appropriate to

22 allow for the scheduling of the most senior Amazon employees Plaintiffs have noticed for

23
     5
    Despite the fact that documents for half of the custodians were substantially produced by the
24 end of January, Plaintiffs did not take the first Amazon deposition until late March 2025.

     JOINT STATUS REPORT - 17                                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
          Case 2:23-cv-01495-JHC          Document 484        Filed 05/28/25     Page 18 of 53



 1 deposition. But this does not justify a disruptive extension to the schedule that would delay the

 2 trial by four months. Nor does it justify an extra month of fact discovery after the deposition

 3 dates offered by Amazon.

 4          Plaintiffs’ complaints about Amazon’s data productions are likewise unfounded.

 5 Amazon has consistently produced large and complex datasets in response to Plaintiffs’

 6 voluminous (approximately 450) data requests. Amazon began its structured data productions to

 7 Plaintiffs in July 2024 and has regularly produced data nearly every month since. Amazon has

 8 now made about 65 data productions, which comprise over 460 TB of data (288 TB of which

 9 Amazon produced but Plaintiffs have yet to accept for download). Most of Amazon’s data

10 productions have been prioritized in cooperation with Plaintiffs, producing the data Plaintiffs

11 requested first. For the small remainder of data requests that Amazon still is investigating, those

12 are primarily due to a mutual decision to re-scope certain metrics following conversations with

13 Plaintiffs in recent months.6

14          Finally, Plaintiffs are not simply asking for two more weeks for their opening expert

15 reports, but an additional three months from the original deadline. Amazon has largely

16 completed Plaintiffs’ voluminous data requests and has not missed its only court-ordered

17 deadline—the August 8 close of fact discovery, which Amazon remains on track to meet for the

18 small remainder of data productions. Amazon’s proposed one-month extension of the opening

19 expert reports is therefore squarely sufficient.

20

21   6
     As Amazon has noted in the past, Amazon’s data is decentralized and most of the time does not
   exist in a format responsive to Plaintiffs’ requests. Amazon therefore undertakes a lengthy and
22 burdensome process to investigate data responsive to each of Plaintiffs’ data requests, including
   identifying people familiar with the subject of the request, assessing whether Amazon maintains
23 data of the type requested by Plaintiffs, and working with data engineers to write queries to pull
   and verify data for production. Amazon continues to cooperate with Plaintiffs and produce data
24 pursuant to Plaintiffs’ priorities.

     JOINT STATUS REPORT - 18                                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
          Case 2:23-cv-01495-JHC          Document 484           Filed 05/28/25    Page 19 of 53



 1                                            *      *       *

 2          Plaintiffs insisted on expansive, burdensome discovery, which Amazon has worked hard

 3 to respond to and comply with. The record does not justify a disruptive, lengthy extension of the

 4 deadlines in this case. The Court should impose the modest schedule extension proposed by

 5 Amazon and maintain the current trial date.

 6          B.     Economics Day

 7          During the Joint Status Conference and Economics Day Hearing held on March 7, 2025,

 8   the Court directed the parties to provide a proposal as to the next Economics Day hearing,

 9   which would include presentations from the parties’ economists.

10          The parties have conferred and jointly propose that the next Economics Day Hearing be

11   scheduled after the conclusion of expert discovery. The parties believe that, at that point in time,

12   the relevant economic issues and areas of dispute will be more clearly defined, and the

13   presentations of the experts will be closer in time and more tailored to any related disputes that

14   may be presented to the Court. This proposed schedule will also minimize the burden on the

15   parties and their respective experts during a busy time when the parties are conducting dozens

16   of depositions ahead of the fact discovery deadline, and when the parties’ experts are working

17   diligently to complete their analyses ahead of the relevant expert discovery deadlines.

18          C.     Conferrals with Witnesses During Deposition Breaks

19          Plaintiffs’ Position:

20          Several Amazon deposition witnesses have stated that they discussed the substance of

21 their testimony with counsel during deposition breaks, and Amazon has asserted privilege over

22 those discussions. Plaintiffs believe that these substantive discussions during depositions are

23 improper and are not protected by the attorney-client privilege.

24

     JOINT STATUS REPORT - 19                                          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
          Case 2:23-cv-01495-JHC          Document 484        Filed 05/28/25      Page 20 of 53



 1          Federal Rule of Civil Procedure 30(c)(1) provides that the examination of a deposition

 2 witness proceeds as though the witness were testifying at trial. See In re Cathode Ray Tube

 3 (CRT) Antitrust Litig., 2015 WL 12942210, at *3 (N.D. Cal. May 29, 2015). For this reason,

 4 several courts in this circuit have held that any discussions about the substance of a witness’s

 5 testimony during breaks in a deposition are impermissible and are not protected by privilege. See

 6 id. (“[O]nce a deposition begins, counsel should not confer with the witness except to determine

 7 whether a privilege should be asserted.”); Barajas v. Abbott Lab’ys, Inc., 2018 WL 6248550, at

 8 *4 (N.D. Cal. Nov. 29, 2018) (“It is improper for a witness and her attorney to discuss the

 9 substance of her testimony during breaks in a deposition, except where necessary to address

10 matters of privilege.”); Horowitz v. Chen, 2018 WL 4560697, at *3 (C.D. Cal, Sept. 20, 2018)

11 (same); BNSF Ry. Co. v. San Joaquin Valley R.R. Co., 2009 WL 3872043, at *3-4 (E.D. Cal.

12 Nov. 17, 2009) (“Because a deposition generally proceeds as at trial, courts have held that once a

13 deposition starts, counsel has no right to confer during the deposition except to determine if a

14 privilege should be claimed.”) (collecting cases). Likewise, the only circuit court to address this

15 question concluded that “private conferences (on issues other than privilege) that would be

16 inappropriate during trial testimony are not excused during a deposition.” Hunt v. DaVita, Inc.,

17 680 F.3d 775, 780 (7th Cir. 2012).

18          These rulings reflect that the fundamental purpose of a deposition is to obtain the

19 witness’s truthful testimony, and are grounded in the recognition that permitting substantive

20 discussions between the witness and their counsel during the course of the deposition threatens

21 this basic goal. “There is no proper need for the witness’s own lawyer to act as an intermediary,

22 interpreting questions, deciding which questions the witness should answer, and helping the

23 witness to formulate answers. The witness comes to the deposition to testify, not to indulge in a

24 parody of Charlie McCarthy, with lawyers coaching or bending the witness’s words to mold a

     JOINT STATUS REPORT - 20                                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
          Case 2:23-cv-01495-JHC           Document 484         Filed 05/28/25      Page 21 of 53



 1 legally convenient record.” Hall v. Clifton Precision, 150 F.R.D. 525, 528-29 (E.D. Pa. 1993);

 2 see also Hunt, 680 F.3d at 780.

 3          Moreover, even the courts that have declined to adopt a bright-line standard barring

 4 conferences between a witness and their attorney during regularly-scheduled deposition breaks

 5 have nonetheless recognized that an attorney may not “coach[ ] the witness by telling the witness

 6 what to say or how to answer a specific question.” In re Stratosphere Corp. Sec. Litig., 182

 7 F.R.D. 614, 621 (D. Nev. 1998); see also New Age Imports, Inc. v. VD Importers, Inc., 2019 WL

 8 1427468, at *3 (C.D. Cal. Feb. 21, 2019) (“[E]ven courts that decline to adopt the standard in . . .

 9 Hall . . . nevertheless affirm the principle that an attorney may not coach the witness . . . .”)

10 (internal quotation omitted).7 Further, as the court explained in Pape v. Suffolk Cnty. Soc’y for

11 the Prevention of Cruelty to Animals, 2022 WL 1105563, (E.D.N.Y. Apr. 13, 2022), “discussions

12 between attorney and client as to how a question should be handled are not protected by

13 attorney-client privilege,” and “opposing counsel has the right to ask about matters that may

14 have affected or changed the witness’s testimony.” Id. at *4 (E.D.N.Y. Apr. 13, 2022) (internal

15 citations and quotations omitted). The court further explained: “It necessarily follows that

16 improper coaching by an attorney to remind the witness, or refresh the recollection of a witness

17 as to what their testimony should be during a break in the deposition would not be protected by

18 the attorney-client privilege and thus subject to disclosure.” Id. (internal quotation marks

19 omitted).

20

21

22   7
     McKinley Infuser, Inc. v. Zdeb, 200 F.R.D. 648 (D. Colo 2001) is inapposite. That case
   involved a deposition that took place over two sessions that were scheduled nearly a month apart,
23 and the court expressed concerns about a decision that would have the effect of barring the
   defendant from conferring with his counsel for “several weeks.” Id. at 650. There are no similar
24 depositions here.

     JOINT STATUS REPORT - 21                                           FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
          Case 2:23-cv-01495-JHC          Document 484        Filed 05/28/25      Page 22 of 53



 1           To the extent Amazon seeks to ensure that its witnesses understand a particular question

 2 or document or wants to clarify their testimony, the proper avenue to do so is to question the

 3 witness directly on the record. See Barajas, 2018 WL 6248550, at *4 (explaining that if counsel

 4 for the witness “felt his client’s recollection needed refreshing or her testimony required

 5 clarification, he should have questioned her himself on the record at the conclusion of the

 6 deposition”). The alternative—attempting to make these changes via confidential conferences

 7 during the course of the deposition—jeopardizes the fact-finding purpose of the deposition. See

 8 Hall, 150 F.R.D at 528.

 9           The risk of witness coaching is not an abstract concern here. Amazon documents show

10 that Amazon’s in-house attorneys coach executives on how to write about business matters. For

11 example, Amazon Legal issued “Do’s and Don’ts” for Amazon’s Global Competition Update

12 such as

13

14

15

16                                      Ex. B, Amazon-FTC-CID_05827170. Amazon’s conduct in

17 party depositions suggests that Amazon’s counsel may similarly be shaping the substance of

18 witnesses’ testimony.8 For example, during the deposition of Daniel Silverman, Amazon’s

19
     8
     The Court should consider this issue in the context of substantial evidence that Amazon is
20 systemically abusing the attorney-client privilege to shield business documents from government
   investigations and discovery. See LCR 37 Joint Submission at 8-13 (Feb. 20, 2025), Dkt. #419;
21 see also De Coster v. Amazon.com, Inc., No. 2:21-cv-00693-JHC (W.D. Wash. Mar. 25, 2025),
   Dkt. #302 (“The Court’s in camera review shows that Amazon improperly designated
22 operational, business, and strategic documents as attorney-client communications or attorney-
   work product.”); Garner v. Amazon.com, Inc., 2024 WL 4266665, at *3 (W.D. Wash. Sept. 23,
23 2024) (concluding that the court’s in camera review “show[ed] that Amazon improperly
   attempted to cloak operational, business, and strategic documents . . . with the attorney client
24 privilege.”).

     JOINT STATUS REPORT - 22                                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
          Case 2:23-cv-01495-JHC          Document 484         Filed 05/28/25     Page 23 of 53



 1 Director of Economics, Seller Fees, Mr. Silverman altered his testimony concerning a specific

 2 document after a deposition break. Mr. Silverman initially testified that he had no recollection of

 3 an email he sent or why he sent it. Ex. C, Tr. 108:4-25. Following a break. Mr. Silverman

 4 testified that part of the email was material he had copied and pasted from someone else. Tr.

 5 193:4-21. Mr. Silverman subsequently confirmed that during the breaks in his deposition, he had

 6 discussed the substance of his testimony and one or more of the exhibits he had been shown with

 7 Amazon’s in-house and outside counsel. Tr. 291:8-292:14.9

 8          As the Hall court reasoned: “During a civil trial, a witness and his or her lawyer are not

 9 permitted to confer at their pleasure during the witness’s testimony. Once a witness has been

10 prepared and has taken the stand, the witness is on his or her own. The same is true at a

11 deposition.” 150 F.R.D. at 528. The potential for witnesses to alter their testimony based on

12 discussions with counsel during breaks warrants a clear rule barring any such substantive

13 conversations. See Barajas, 2018 WL 6248550, at *4 (coaching breaks at issue were “absolutely

14 improper” and highlighting particular concerns where witness’s testimony appeared to be

15 “influenced by her conference with counsel during the break”).

16          Plaintiffs respectfully request that the Court order that (1) Amazon counsel may not

17 discuss the substance of a witness’s testimony with the witness during any deposition breaks,

18

19   9
       Amazon suggests that Mr. Silverman’s testimony following a break concerned an entirely
     separate portion of the document and that the seeming change was merely the result of the
20   witness drawing conclusions from the “context” of the document. But the relevant sections of the
     document discussed before and after the break appear roughly six lines away from each other
21   and contain nearly identical language. In both instances, Mr. Silverman was asked about a
     statement that “we shared” a particular document with certain colleagues. Tr. 111:16-23; Tr.
22   191:12-22. Before to the break, the witness indicated that he had not personally sent the
     document, but that the “we” could have referred to the team he just joined, see Tr. 111:16-23.
23   After the break, the witness offered a different explanation for the language, suggesting instead
     that he did not author the relevant portions of the email and that instead this language must have
24   been copied from someone else, see Tr. 191:12-22.

     JOINT STATUS REPORT - 23                                          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
          Case 2:23-cv-01495-JHC           Document 484        Filed 05/28/25      Page 24 of 53



 1 including between the first and second day of a two-day deposition, and (2) that any such

 2 conversations are not protected by attorney-client privilege. This order would not limit

 3 discussions between Amazon counsel and a witness for the purpose of determining whether a

 4 privilege should be asserted.

 5          Defendant’s Position:

 6          Plaintiffs’ position relies on the baseless and inappropriate accusation that counsel has

 7 been improperly coaching witnesses and is not supported by the record. Plaintiffs use this

 8 speculation to assert the right to breach privileged communications between witnesses and their

 9 counsel. Prohibiting witnesses from conferring with their counsel on breaks in the deposition—

10 as opposed to while a question is pending, which is not at issue here—interferes with an

11 individual’s right to counsel and impedes attorneys from performing their ethical duties.

12          First, no Federal Rule of Civil Procedure or local rule in this District prohibits discussion

13 between deponents and their lawyers during breaks in depositions. Washington state procedure

14 in fact expressly permits discussion between a witness and the witness’s lawyer “during normal

15 recesses and at adjournment unless prohibited by the court.” Wash. Ct. R. 30(h)(5).

16          Second, courts in this Circuit and around the country routinely hold that during

17 depositions, “when there is no question pending, discussions between counsel and client do not

18 violate any express rule and are permissible.” Pape v. Suffolk Cnty. Soc’y for Prevention of

19 Cruelty to Animals, 2022 WL 1105563, at *2 (E.D.N.Y. Apr. 13, 2022). That is because a

20 blanket prohibition on discussions between counsel and their clients “unnecessarily

21 jeopardize[s]” the “right to counsel.” In re Stratosphere Corp. Sec. Litig., 182 F.R.D. 614, 621

22 (D. Nev. 1998). While “it is one thing to preclude attorney-coaching of witnesses,” it is “quite

23 another to deny someone” the right to counsel. Id. There is an ocean between the inappropriate

24 coaching of answers and counsel “making sure that his or her client did not misunderstand or

     JOINT STATUS REPORT - 24                                          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
          Case 2:23-cv-01495-JHC           Document 484         Filed 05/28/25      Page 25 of 53



 1 misinterpret questions or documents, or attempt to help rehabilitate the client by fulfilling an

 2 attorney’s ethical duty to prepare a witness.” Id.; see also Brian R. Iverson, Give Me A Break:

 3 Regulating Communications Between Attorneys and Their Witness-Clients During Deposition

 4 Recesses, 36 Geo. J. Legal Ethics 497, 526 (2023) (“A strict no-consultation rule, however,

 5 would make it impossible for the attorney to comply with this ethical obligation to remonstrate

 6 with the client confidentially during the deposition.”). Any such “consultations, during periodic

 7 deposition breaks, luncheon and overnight recesses, and more prolonged recesses ordinarily are

 8 appropriate.” McKinley Infuser, Inc. v. Zdeb, 200 F.R.D. 648, 650 (D. Colo. 2001) (citing In re

 9 Stratosphere, 182 F.R.D. at 621). See also New Age Imports, Inc. v. VD Importers, Inc., 2019

10 WL 1427468, at *4 (C.D. Cal. Feb. 21, 2019) (“[T]here is no binding precedent that requires this

11 Court to prevent a witness from conferring with his or her counsel during a deposition.”).

12          Plaintiffs essentially rely on an old case from the Eastern District of Pennsylvania, Hall v.

13 Clifton Precision, 150 F.R.D. 525, 528-29 (E.D. Pa. 1993), which has been “highly criticized.”

14 Henry v. Champlain Enters., Inc., 212 F.R.D. 73, 92 (N.D.N.Y. 2003). Many courts, including

15 in this Circuit, instead follow the holding of In re Stratosphere Corp., which protects the sanctity

16 of the attorney-client privilege by prohibiting inquiry into communications between counsel and

17 witnesses during breaks in depositions. Examining Hall, the Stratosphere court concluded that

18 Hall “goes too far and its strict adherence could violate the right to counsel.” In re Stratosphere,

19 182 F.R.D. at 620. The court further observed: “The right to prepare a witness is not different

20 before the questions begin than it is during (or after, since a witness may be recalled for rebuttal,

21 etc., during trial). What this Court, and the Federal Rules of Procedure seek to prevent is

22 coaching the witness by telling the witness what to say or how to answer a specific question. We

23 all want the witness’s answers, but not at the sacrifice of his or her right to the assistance of

24 counsel.” Id. at 621.

     JOINT STATUS REPORT - 25                                           FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
          Case 2:23-cv-01495-JHC          Document 484        Filed 05/28/25      Page 26 of 53



 1          Third, courts also hold that these discussions between counsel and client are privileged,

 2 and deny to “interrogating counsel carte blanche to invade the privileged communications.” Id.

 3 at 622. See also New Age Imports, 2019 WL 1427468, at *3 (“Defendants’ counsel properly

 4 asserted attorney-client privilege” over discussions during a deposition); Henry, 212 F.R.D.at 92

 5 (asking “to reveal” what “counsel said to him during the break of his deposition . . . may truly

 6 intrude upon the attorney-client privilege and the work product doctrine”).

 7          Fourth, Plaintiffs’ accusation that counsel is improperly “coaching” witnesses appears to

 8 be based on nonsensical logic and a misunderstanding of the testimony they have elicited.

 9 Plaintiffs argue that because, in the regular course of business, in-house counsel advise

10 employees with respect to drafting documents (a regular part of an in-house counsel’s job),

11 Amazon’s different, outside counsel must be improperly shaping witnesses’ testimony in the

12 litigation. Plaintiffs do not even attempt to explain how those two contexts are related.

13          The deposition example Plaintiffs raise in no way suggests that there was any improper

14 coaching—or even that discussions covered the document at issue. Plaintiffs identify testimony

15 about whether a witness authored a particular exhibit and leap to the suspicion that something

16 untoward must have occurred. In reality, the example highlights the ways in which Plaintiffs

17 waste deposition time asking witnesses questions about documents the witnesses have testified

18 they do not remember, and then seek to draw factual conclusions based on foundationless

19 testimony. Here, when the exhibit was introduced, the witness was asked whether he recalled the

20 email in question and he testified that he did not. Ex. C at 108:15-17. He also testified that it

21 appeared to be an email “from him” based on the “header.” Id. at 108:18-20. Plaintiffs

22 proceeded to ask questions about one portion of the email. Over two hours later, Plaintiffs

23 returned to the email and asked questions about a portion of the email they had not focused on

24 previously. The witness noted that the language highlighted by Plaintiffs suggested he was not

     JOINT STATUS REPORT - 26                                         FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                           600 Pennsylvania Avenue, NW
                                                                                 Washington, DC 20580
                                                                                        (202) 326-2222
          Case 2:23-cv-01495-JHC           Document 484         Filed 05/28/25       Page 27 of 53



 1 the author of that portion of the email and had instead copied it from another source. The

 2 witness also explained why he thought that: the witness testified that because he was not in the

 3 Fees organization as of July 31, 2023, he concluded it was unlikely he would have written

 4 language suggesting he had shared a fees document with Fees leadership at that time (“Fee

 5 Optimization Review (07/31/2023): this is the document we shared with Ben”). Id. at 191:2-

 6 18. Plaintiffs assume that this clarification must have been the result of some coaching that

 7 occurred, but there is no indication that is the case. The witness did not indicate that any

 8 discussions with counsel impacted the substance of his testimony, or that they even covered this

 9 document. See Id. at 291-292. Rather, it is apparent from the testimony that the witness merely

10 used the context of the document to make a note about the email, which he had already testified

11 he did not recall.10

12          It is apparent that what Plaintiffs are really seeking is to invade the attorney-client

13 privilege that exists between counsel and the witness. Plaintiffs want authorization to inquire

14 into privileged conversations by offering nothing but speculation that counsel has acted

15 improperly. “The attorney-client privilege is the oldest of the privileges for confidential

16 communications known to the common law. Its purpose is to encourage full and frank

17 communication between attorneys and their clients and thereby promote broader public interests

18 in the observance of law and administration of justice.” Upjohn Co. v. United States, 449 U.S.

19 383, 389 (1981) (cleaned up); see also Admiral Ins. Co. v. U.S. Dist. Ct. for Dist. of Arizona, 881

20 F.2d 1486, 1491 (9th Cir. 1989) (“[M]aintenance of the attorney-client privilege up to its proper

21

22

23   10
     Amazon denies that any improper coaching of witness testimony occurred, but Amazon notes
   that it cannot fully respond to Plaintiffs’ accusation without betraying privileged
24 communications.

     JOINT STATUS REPORT - 27                                           FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                             600 Pennsylvania Avenue, NW
                                                                                   Washington, DC 20580
                                                                                          (202) 326-2222
          Case 2:23-cv-01495-JHC          Document 484        Filed 05/28/25       Page 28 of 53



 1 limits has substantial importance to the administration of justice.” (quoting Harper & Row

 2 Publishers, Inc. v. Decker, 423 F.2d 487, 492 (7th Cir. 1970)).

 3          This record provides no basis for the Court to impede the ethical duties of counsel, or the

 4 rights of a witness to counsel, in providing or seeking legal advice during breaks in a deposition.

 5 The Court should not accept Plaintiffs’ unfounded invitation to do so.

 6 IV.      PENDING MOTIONS

 7          The chart below lists the motions that are pending before the Court:

 8           Motion                  Response                  Reply                 Notice Date

 9    Amazon’s Motion to       Plaintiffs’ Opposition   Amazon’s Reply          March 12, 2025
      Compel Further           (Dkt. #434)              (Dkt. #444)
10    Responses to its First   (3/6/2025)               (3/12/2025)
      Set of Interrogatories
11    (Dkt. #414)
      (2/19/2025)
12

13
     Dated: May 28, 2025                          Respectfully submitted,
14
                                                  /s/ Edward H. Takashima
15                                                SUSAN A. MUSSER (DC Bar # 1531486)
                                                  EDWARD H. TAKASHIMA (DC Bar # 1001641)
16                                                MICHAEL BAKER (DC Bar # 1044327)
                                                  LEIGH BARNWELL (NY Reg. # 5440821)
17                                                Federal Trade Commission
                                                  600 Pennsylvania Avenue, NW
18                                                Washington, DC 20580
                                                  Tel.: (202) 326-2122 (Musser)
19                                                       (202) 326-2464 (Takashima)
                                                  Email: smusser@ftc.gov
20                                                       etakashima@ftc.gov
                                                         mbaker1@ftc.gov
21                                                       lbarnwell@ftc.gov

22                                                Attorneys for Plaintiff Federal Trade Commission

23

24

     JOINT STATUS REPORT - 28                                          FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                            600 Pennsylvania Avenue, NW
                                                                                  Washington, DC 20580
                                                                                         (202) 326-2222
          Case 2:23-cv-01495-JHC         Document 484     Filed 05/28/25     Page 29 of 53



 1
     s/ Michael Jo                                  s/ Timothy D. Smith
     Michael Jo (admitted pro hac vice)             Timothy D. Smith, WSBA No. 44583
 2
     Assistant Attorney General, Antitrust Bureau   Attorney-in-Charge
     New York State Office of the Attorney          Antitrust, False Claims, & Privacy Section
 3
     General                                        Oregon Department of Justice
     28 Liberty Street                              100 SW Market St
 4
     New York, NY 10005                             Portland, OR 97201
     Telephone: (212) 416-6537                      Telephone: (503) 798-3297
 5
     Email: Michael.Jo@ag.ny.gov                    Email: tim.smith@doj.state.or.us
 6   Counsel for Plaintiff State of New York        Counsel for Plaintiff State of Oregon

 7 s/ Victoria Field                                s/ Jennifer A. Thomson
   Victoria Field (admitted pro hac vice)           Jennifer A. Thomson (admitted pro hac vice)
 8 Assistant Attorney General                       Senior Deputy Attorney General
   Office of the Attorney General of Connecticut    Pennsylvania Office of Attorney General
 9 165 Capitol Avenue                               Strawberry Square, 14th Floor
   Hartford, CT 06016                               Harrisburg, PA 17120
10 Telephone: (860) 808-5030                        Telephone: (717) 787-4530
   Email: Victoria.Field@ct.gov                     Email: jthomson@attorneygeneral.gov
11 Counsel for Plaintiff State of Connecticut       Counsel for Plaintiff Commonwealth of
                                                    Pennsylvania
12 s/ Alexandra C. Sosnowski
   Alexandra C. Sosnowski (admitted pro hac         s/ Michael A. Undorf
13 vice)                                            Michael A. Undorf (admitted pro hac vice)
   Assistant Attorney General                       Deputy Attorney General
14 Consumer Protection and Antitrust Bureau         Delaware Department of Justice
   New Hampshire Department of Justice              820 N. French St., 5th Floor
15 Office of the Attorney General                   Wilmington, DE 19801
   One Granite Place South                          Telephone: (302) 683-8816
16 Concord, NH 03301                                Email: michael.undorf@delaware.gov
   Telephone: (603) 271-2678                        Counsel for Plaintiff State of Delaware
17 Email: Alexandra.c.sosnowski@doj.nh.gov
   Counsel for Plaintiff State of New Hampshire     s/ Christina M. Moylan
18                                                  Christina M. Moylan (admitted pro hac vice)
     s/ Malisa McPherson                            Assistant Attorney General
19   Malisa McPherson (admitted pro hac vice)       Chief, Consumer Protection Division
     Deputy Attorney General, Public Advocacy       Office of the Maine Attorney General
20   Office of the Oklahoma Attorney General        6 State House Station
     313 N.E. 21st Street                           Augusta, ME 04333-0006
21   Oklahoma City, OK 73105                        Telephone: (207) 626-8800
     Telephone: (405) 522-2297                      Email: christina.moylan@maine.gov
22   Email: Malisa.McPherson@oag.ok.gov             Counsel for Plaintiff State of Maine
     Counsel for Plaintiff State of Oklahoma
23

24


     JOINT STATUS REPORT - 29                                     FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                       600 Pennsylvania Avenue, NW
                                                                             Washington, DC 20580
                                                                                    (202) 326-2222
          Case 2:23-cv-01495-JHC         Document 484       Filed 05/28/25     Page 30 of 53



 1
     s/ Schonette Walker                              s/ Lucas J. Tucker
     Schonette Walker (admitted pro hac vice)         Lucas J. Tucker (admitted pro hac vice)
 2
     Assistant Attorney General                       Senior Deputy Attorney General
     Chief, Antitrust Division                        Office of the Nevada Attorney General
 3
     Office of the Maryland Attorney General          100 N. Carson St.
     200 St. Paul Place                               Carson City, NV 89701
 4
     Baltimore, MD 21202                              Telephone: (775) 684-1100
     Telephone: (410) 576-6473                        Email: LTucker@ag.nv.gov
 5
     Email: swalker@oag.state.md.us                   Counsel for Plaintiff State of Nevada
 6   Counsel for Plaintiff State of Maryland
                                                      s/ Andrew Esoldi
 7   s/ Katherine W. Krems                            Andrew Esoldi (admitted pro hac vice)
     Katherine W. Krems (admitted pro hac vice)       Deputy Attorney General
 8   Assistant Attorney General, Antitrust Division   New Jersey Office of the Attorney General
     Office of the Massachusetts Attorney General     124 Halsey Street, 5th Floor
 9   One Ashburton Place, 18th Floor                  Newark, NJ 07101
     Boston, MA 02108                                 Telephone: (973) 648-7819
10   Telephone: (617) 963-2189                        Email: Andrew.Esoldi @law.njoag.gov
     Email: katherine.krems@mass.gov                  Counsel for Plaintiff State of New Jersey
11   Counsel for Plaintiff Commonwealth of
     Massachusetts                                    s/ Billy Jimenez
12                                                    Billy Jimenez (admitted pro hac vice)
     s/ Scott A. Mertens                              Deputy Attorney General, Civil Affairs
13   Scott A. Mertens (admitted pro hac vice)         New Mexico Office of the Attorney General
     Assistant Attorney General                       408 Galisteo St.
14   Michigan Department of Attorney General          Santa Fe, NM 87501
     525 West Ottawa Street                           Telephone: (505) 527-2694
15   Lansing, MI 48933                                Email: bjimenez@nmag.gov
     Telephone: (517) 335-7622                        Counsel for Plaintiff State of New Mexico
16   Email: MertensS@michigan.gov
     Counsel for Plaintiff State of Michigan          s/ Zulma Carrasquillo-Almena
17                                                    Zulma Carrasquillo (admitted pro hac vice)
     s/ Zach Biesanz                                  Assistant Attorney General
18   Zach Biesanz (admitted pro hac vice)             Antitrust Division
     Senior Enforcement Counsel                       Puerto Rico Department of Justice
19   Office of the Minnesota Attorney General         P.O. Box 9020192
     445 Minnesota Street, Suite 1400                 San Juan, Puerto Rico 00901-0192
20   Saint Paul, MN 55101                             Telephone: (787) 721-2900
     Telephone: (651) 757-1257                        Email: zcarrasquillo@justicia.pr.gov
21   Email: zach.biesanz@ag.state.mn.us               Counsel for Plaintiff Commonwealth of Puerto
     Counsel for Plaintiff State of Minnesota         Rico
22

23

24


     JOINT STATUS REPORT - 30                                      FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                        600 Pennsylvania Avenue, NW
                                                                              Washington, DC 20580
                                                                                     (202) 326-2222
          Case 2:23-cv-01495-JHC        Document 484   Filed 05/28/25   Page 31 of 53



 1
     s/ Stephen N. Provazza
     Stephen N. Provazza (admitted pro hac vice)
 2
     Special Assistant Attorney General
     Chief, Consumer and Economic Justice Unit
 3
     Department of the Attorney General
     150 South Main Street
 4
     Providence, RI 02903
     Telephone: (401) 274-4400
 5
     Email: sprovazza@riag.ri.gov
 6   Counsel for Plaintiff State of Rhode Island

 7 s/ Sarah L. J. Aceves
   Sarah L. J. Aceves (admitted pro hac vice)
 8 Assistant Attorney General
   Vermont Attorney General’s Office
 9 109 State Street
   Montpelier, VT 05609
10 Telephone: (802) 828-3170
   Email: sarah.aceves@vermont.gov
11 Counsel for Plaintiff State of Vermont

12 s/ Caitlin M. Madden
   Caitlin M. Madden (admitted pro hac vice)
13 Assistant Attorney General
   Wisconsin Department of Justice
14 Post Office Box 7857
   Madison, WI 53707-7857
15 Telephone: (608) 267-1311
   Email: maddencm@doj.state.wi.us
16 Counsel for Plaintiff State of Wisconsin

17

18

19

20

21

22

23

24


     JOINT STATUS REPORT - 31                                FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                                  600 Pennsylvania Avenue, NW
                                                                        Washington, DC 20580
                                                                               (202) 326-2222
          Case 2:23-cv-01495-JHC   Document 484   Filed 05/28/25     Page 32 of 53



 1
                                             MORGAN, LEWIS & BOCKIUS LLP
 2
                                             By: s/ Molly A. Terwilliger
                                             Patty A. Eakes, WSBA #18888
 3
                                             Molly A. Terwilliger, WSBA #28449
                                             1301 Second Avenue, Suite 3000
 4
                                             Seattle, WA 98101
                                             Phone: (206) 274-6400
 5
                                             Email: patty.eakes@morganlewis.com
                                                     molly.terwilliger@morganlewis.com
 6
                                             WILLIAMS & CONNOLLY LLP
 7
                                             Heidi K. Hubbard (pro hac vice)
 8
                                             John E. Schmidtlein (pro hac vice)
                                             Kevin M. Hodges (pro hac vice)
 9
                                             Jonathan B. Pitt (pro hac vice)
                                             Edward C. Reddington (pro hac vice)
10                                           Carl R. Metz (pro hac vice)
                                             Katherine A. Trefz (pro hac vice)
11                                           Carol J. Pruski (pro hac vice)
                                             680 Maine Avenue SW
12                                           Washington, DC 20024
                                             Phone: (202) 434-5000
13                                           Email: hhubbard@wc.com
                                                     jschmidtlein@wc.com
14                                                   khodges@wc.com
                                                     jpitt@wc.com
15                                                   ereddington@wc.com
                                                     cmetz@wc.com
16                                                   ktrefz@wc.com
                                                     cpruski@wc.com
17
                                             COVINGTON & BURLING LLP
18
                                             Thomas O. Barnett (pro hac vice)
19                                           Derek Ludwin (pro hac vice)
                                             Katharine Mitchell-Tombras (pro hac vice)
20                                           One CityCenter
                                             850 Tenth Street, NW
21                                           Washington, DC 20001-4956
                                             Phone: (202) 662-5407
22                                           Email: tbarnett@cov.com
                                                   dludwin@cov.com
23                                                 kmitchelltombras@cov.com

24                                           Attorneys for Defendant Amazon.com, Inc.


     JOINT STATUS REPORT - 32                             FEDERAL TRADE COMMISSION
     CASE NO. 2:23-cv-01495-JHC                               600 Pennsylvania Avenue, NW
                                                                     Washington, DC 20580
                                                                            (202) 326-2222
Case 2:23-cv-01495-JHC   Document 484   Filed 05/28/25   Page 33 of 53




                     EXHIBIT A
     Case 2:23-cv-01495-JHC     Document 484    Filed 05/28/25   Page 34 of 53




                                                                            Page 1

1               SUPERIOR COURT OF THE STATE OF CALIFORNIA
2                IN AND FOR THE COUNTY OF SAN FRANCISCO
3       400 McALLISTER STREET, SAN FRANCISCO, CALIFORNIA 94102
4            BEFORE THE HONORABLE ETHAN P. SCHULMAN, JUDGE
5                                DEPARTMENT NO. 304
6                                    ---oOo---
7
8     THE PEOPLE OF THE STATE OF
      CALIFORNIA,
9
10          Plaintiff,
11    vs.                                             CASE NO. CGC-22-601826
12    AMAZON.COM, INC.,
13          Defendant.
      ____________________________/
14
15
16
17                  REPORTER'S TRANSCRIPT OF PROCEEDINGS
18                            WEDNESDAY, MAY 14, 2025
19                                   ---oOo---
20
21    STENOGRAPHICALLY REPORTED BY:
      CAROL HARABURDA, CSR NO. 8052
22    Court Certified Realtime Reporter
      Official Reporter Pro Tempore
23
24
                              VERITEXT LEGAL SOLUTIONS
25               calendar-ca@veritext.com - 866.299.5127

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:23-cv-01495-JHC    Document 484     Filed 05/28/25   Page 35 of 53




                                                                        Page 2

1     APPEARANCES OF COUNSEL:
2     FOR PLAINTIFF:
3         ROB BONTA
          ATTORNEY GENERAL OF CALIFORNIA
4         BY: STEPHEN R. SMEREK, Deputy Attorney General
               LONNIE A. BROWNE, Deputy Attorney General
5         300 South Spring Street, Suit 1702
          Los Angeles, California 90013
6         213.269.6000 - 213.269.6353
          stephen.smerek@doj.ca.gov
7         lonnie.browne@doj.ca.gov
8     FOR DEFENDANT AND CROSS-COMPLAINANT AMAZON.COM:
9          WILLIAMS & CONNOLLY LLP
           BY: KEVIN M. HODGES, Attorney at Law
10              ANDREW LEMENS, Attorney at Law
           680 Maine Avenue SW
11         Washington, D.C. 20024
           202.434.5000 - 202.434.5221 - 202.434.5132
12         khodges@wc.com
           alemens@wc.com
13
             COVINGTON & BURLING LLP
14           BY: JEFFREY M. DAVIDSON, Attorney at Law
             415 Mission Street, Suite 5400
15           San Francisco, California 94105
             415.591.6000
16           jdavidson@cov.com
17
18                                       ---oOo---
19
20
21
22
23
24
25

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 2:23-cv-01495-JHC    Document 484     Filed 05/28/25   Page 36 of 53




                                                                       Page 10

1     been proceeding with depositions on a coordinated basis.

2     They came back and said, Well, it's just for us, but we

3     will reach out to the other plaintiffs, including

4     California, and we heard from California last night.

5                So, we haven't substantively engaged with the FTC

6     on schedule yet, because we didn't really know what we

7     were engaging with, but that's the status.                 So, we didn't

8     ask -- we didn't ask the AG's office for a scheduling

9     proposal, but we are prepared to discuss schedules with

10    all the plaintiffs, if necessary.             I just wanted to

11    clarify that.

12               THE COURT:      Thank you.

13               Well, let me say at the outset, Mr. Smerek, by

14    raising that issue last in your update, you kind of buried

15    the lede here, because, in a sense, if there is to be a

16    substantial continuance of the discovery schedule in the

17    FTC action, which currently has the same discovery cutoff

18    date as this action, and in light of the orders and

19    stipulations that the depositions be coordinated in the

20    two cases, obviously, that's going to have a knock-on

21    effect here -- it ought to -- and it may affect all those

22    other issues that we're about to discuss.

23               So, I guess I'm prepared to discuss them, sort

24    of, provisionally, but it does sound to me like maybe your

25    summers are not going to be quite as dire as you are

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:23-cv-01495-JHC   Document 484   Filed 05/28/25   Page 37 of 53




              EXHIBIT B
          FILED UNDER SEAL
Case 2:23-cv-01495-JHC   Document 484   Filed 05/28/25   Page 38 of 53




                     EXHIBIT C
     Case 2:23-cv-01495-JHC Document 484 Filed 05/28/25 Page 39 of 53
                       CONFIDENTIAL ATTORNEYS' EYES ONLY         May 8, 2025

                                                               Page 1

1                     IN THE UNITED STATES DISTRICT COURT

2                 WESTERN DISTRICT OF WASHINGTON AT SEATTLE

3                                     Index No.     2:23-cv-01495-JHC

4       FEDERAL TRADE COMMISSION et al.,

5                     Plaintiffs,

6       v.

7       AMAZON.COM, INC., a corporation,

8                     Defendants.

        _______________________________________/

9

10                          REMOTE VIDEOCONFERENCE

11                                DEPOSITION OF

12                               DANIEL SILVERMAN

13                    Confidential Attorneys' Eyes Only

14                       Taken on behalf of Defendant

15                                     * * *

16                                  May 8, 2025

17

18

19

20

21

22

23

        Job No. CS7357751

24      Rachel McRoy, RPR

        Court Reporter

25

                         www.CapitalReportingCompany.com
                                  202-857-3376
     Case 2:23-cv-01495-JHC Document 484 Filed 05/28/25 Page 40 of 53
                       CONFIDENTIAL ATTORNEYS' EYES ONLY         May 8, 2025

                                                               Page 2

1                              APPEARANCES:
2           For the Private Plaintiffs:
3           ALICIA COBB, ESQUIRE
            QUINN EMANUEL URQUHART & SULLIVAN, LLP
4           1109 First Avenue
            Suite 210
5           Seattle, Washington 98101
            (206)905-7002
6           Aliciacobb@quinnemanuel.com
7           For the FTC:
8           ERIC ZEPP, ESQUIRE
            FEDERAL TRADE COMMISSION (FTC)
9           600 Pennsylvania Avenue Northwest
            Washington, District of Columbia 20580
10          (800)382-4357
            Ezepp@ftc.gov
11
12          For California Department of Justice:
13          ELLIOTT DIONISIO, ESQUIRE
            ELENA BAUGHMAN, LEGAL ANALYST
14          CHARLES MILLER, LEGAL ANALYST
            CALIFORNIA DEPARTMENT OF JUSTICE ATTORNEY GENERAL
15          1425 River Park Drive
            Suite 300
16          Sacramento, California 95815
            (916)210-6276
17          Elliott.dionisio@doj.ca.gov
18          For Office of Attorney General District of Columbia:
19          ESTEFANIA TORRES PAEZ, ESQUIRE
            ATTORNEY GENERAL DISTRICT OF COLUMBIA
20          441 Fourth Street Northwest
            10th Floor South
21          Washington, District of Columbia 20001
            (202)540-7227
22          Estefania.torrespaez@dc.gov
23
24
25

                         www.CapitalReportingCompany.com
                                  202-857-3376
     Case 2:23-cv-01495-JHC Document 484 Filed 05/28/25 Page 41 of 53
                       CONFIDENTIAL ATTORNEYS' EYES ONLY         May 8, 2025

                                                               Page 3

1
                               APPEARANCES CONTINUED:
2
         For Amazon.com, Inc.:
3
             EDWARD C. REDDINGTON            ESQUIRE
4            LEE ROACH, ESQUIRE
             COLE WINTHEISER, ESQUIRE
5            WILLIAMS & CONNOLLY, LLP
             680 Main Avenue
6            Washington, District of Columbia 20024
             (202)434-5029
7            Ereddington@wc.com
8
             ALSO PRESENT:        Robert Guier, Videographer
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

                         www.CapitalReportingCompany.com
                                  202-857-3376
     Case 2:23-cv-01495-JHC Document 484 Filed 05/28/25 Page 42 of 53
                       CONFIDENTIAL ATTORNEYS' EYES ONLY         May 8, 2025

                                                               Page 4

1                                         INDEX
2       Examination by:                                            Page
3       Mr. Zepp                                                     8
        Mr. Dionisio                                                 267
4
5                                      EXHIBITS
6
7       Exhibit        Description                                 Page
8       Exhibit 1     LinkedIn Profile                             19
9       Exhibit 3     SPS Long-Term Fee Strategy                   139
                      Bates Labeled 09235987
10
        Exhibit 4     E-mail Correspondence dated                  108
11                    October 2023
                      Bates Labeled 12967339
12
        Exhibit 5     E-mail Correspondence dated                  222
13                    August 12, 2024
                      Bates Labeled 14326341
14
        Exhibit 13 E-mail Correspondence dated                     261
15                    April 18, 2024
                      Bates Labeled 12972476
16
17
18
19
20
21
22
23
24
25

                         www.CapitalReportingCompany.com
                                  202-857-3376
     Case 2:23-cv-01495-JHC Document 484 Filed 05/28/25 Page 43 of 53
                       CONFIDENTIAL ATTORNEYS' EYES ONLY         May 8, 2025

                                                                  Page 108

1           Q.    Okay.     Well, I'd like to formally introduce what

2       has been marked as Silverman Exhibit 4, and it's Bates

3       12967339.

4                 (Exhibit No. 4 was marked for identification.)

5       BY MR. ZEPP:

6           Q.    And, Mr. Silverman, if you look at the top of the

7       page of the first PDF, do you see that this is an e-mail

8       from yourself to Chris Nosko sent in October of 2023?

9           A.    Yes, I see it.

10          Q.    And just a little bit of help, you can control

11      and zoom in with your mouse, and we might be navigating

12      around the document, and so you can also type in the PDF

13      page if helpful as we're going through it.

14          A.    Oh yeah, I see that.        Okay.

15          Q.    Do you recall sending this e-mail in October 2023

16      to Chris Nosko?

17          A.    I don't have a specific memory of it, no.

18          Q.    But you would agree this appears to be a e-mail

19      from you?

20          A.    It does yeah.      From the heading, yeah.

21          Q.    Do you recall why you were sending Mr. Nosko this

22      e-mail?

23                        MR. REDDINGTON:     Objection.      Form.

24                        THE WITNESS:    I don't know.       I could try to

25      read it, but I don't know.

                            www.CapitalReportingCompany.com
                                     202-857-3376
     Case 2:23-cv-01495-JHC Document 484 Filed 05/28/25 Page 44 of 53
                       CONFIDENTIAL ATTORNEYS' EYES ONLY         May 8, 2025

                                                                Page 111

1       under the subject line which reads "                  and other fee

2       optimization models," there's a series of attachments,

3       right?

4           A.   Yeah, I see that now.      Thanks.

5           Q.   And do you recall why in the subject line you

6       called out           first before the other fee

7       optimization models?

8           A.   I don't -- I don't know why that was.

9           Q.   That's okay.    If you look at the               section

10      of your e-mail that's the bold caps, and specifically I

11      want to focus on the                     which says October

12      12th, 2020, it says, "This document is the document that

13      we shared with Pat Bajari, Matt Taddy and Phil Leslie in

14      2020."    Is that -- did I read that correctly?

15          A.   That's what it says, yes.

16          Q.   When you said "we shared," do you recall whether

17      you personally shared this                         with these three

18      individuals?

19          A.   I did not, I think is the answer.           So I did not

20      share it personally.

21          Q.   Could the "we" here be referring to the seller

22      fees team?

23          A.   It might be.    I don't know quite specifically.

24          Q.   Okay.   Is it fair to say that Pat Bajari, Matt

25      Taddy and Phil Leslie are senior executives within

                         www.CapitalReportingCompany.com
                                  202-857-3376
     Case 2:23-cv-01495-JHC Document 484 Filed 05/28/25 Page 45 of 53
                       CONFIDENTIAL ATTORNEYS' EYES ONLY         May 8, 2025

                                                             Page 191

1           A.   Yes.

2           Q.   All right.   I want to focus now on the document

3       or in your e-mail it says,              " and the first

4       document is a fee optimization review, and that appears

5       to be from July 2023.       And it says, "This is the

6       document we shared with Ben on              background +

7       output."    Do you see that?

8           A.   I see that, yes.

9           Q.   And who is Ben mentioned here?

10          A.   I don't know for sure, but my guess is that that

11      is Ben Hartman.

12          Q.   And it says, "This is the document we shared."

13      Do you know or do you recall when you shared this

14      document with Ben?

15          A.   So I think this is -- how do I say it?        I think I

16      copied and pasted this from -- this list from someone

17      else.    So I wasn't on the team at that time.        So I think

18      this is just we as referring really to someone else.

19          Q.   Well, you're saying you weren't on the time -- on

20      the team at that time that specific document was shared;

21      is that fair?

22          A.   Yeah.   That's what I'm trying to say.

23          Q.   But you are familiar with the

24      correct?

25          A.   I've become familiar with it in its current form,

                         www.CapitalReportingCompany.com
                                  202-857-3376
     Case 2:23-cv-01495-JHC Document 484 Filed 05/28/25 Page 46 of 53
                       CONFIDENTIAL ATTORNEYS' EYES ONLY         May 8, 2025

                                                                   Page 193

1       I'm just saying I didn't quite write this, but it's -- I

2       presume that's Kevin O'Neil.

3       BY MR. ZEPP:

4           Q.     Okay.     I just want to make sure I'm clear.

5       Earlier when I showed you this e-mail, you didn't recall

6       sending it, you didn't recall the context of you sending

7       it, but now you are testifying that the

8                description here, you believe you just copy and

9       pasted from someone else?

10                         MR. REDDINGTON:     Objection.      Form.

11                         THE WITNESS:    That's the imprint I draw from

12      its context, yeah.

13      BY MR. ZEPP:

14          Q.     And at what point is your recollection refreshed

15      that these were just copy and pasted?

16                         MR. REDDINGTON:     Objection.      Form.

17                         THE WITNESS:    I don't claim to have my

18      recollection refreshed.           Actually, instead, I would

19      argue is that from the context and the dates, I assume

20      that that's what happened because I was not around at

21      the time.

22      BY MR. ZEPP:

23          Q.     Okay.     So you don't believe you would have used

24      the word we shared here because you don't believe you

25      ever shared it; is that fair?

                             www.CapitalReportingCompany.com
                                      202-857-3376
     Case 2:23-cv-01495-JHC    Document 484 Filed 05/28/25   Page 47 of 53
                               HIGHLY CONFIDENTIAL                    May 9, 2025

                                                                Page 283

1                              UNITED STATES DISTRICT COURT

2                             WESTERN DISTRICT OF WASHINGTON

3                                        AT SEATTLE

4

5            FEDERAL TRADE COMMISSION,

6            et al.,

7                       Plaintiffs,             No. 2:23-cv-01495-JHC

8                  v.

9            AMAZON.COM, INC., a

10           corporation,

11                      Defendant.

12           _________________________

13           (Captions Continued)

14

15

16                               ** HIGHLY CONFIDENTIAL **

17                                        VOLUME II

18                      REMOTE VIDEOCONFERENCE DEPOSITION OF

19                                   DANIEL SILVERMAN

20                             Taken in behalf of Plaintiffs

21                                       May 9, 2025

22

23

24

25    Job No. CS7357841

                          www.CapitalReportingCompany.com
                                   202-857-3376
     Case 2:23-cv-01495-JHC     Document 484 Filed 05/28/25   Page 48 of 53
                                HIGHLY CONFIDENTIAL                    May 9, 2025

                                                                 Page 284

1                      BE IT REMEMBERED THAT, the remote

2                videoconference deposition of DANIEL SILVERMAN

3                was reported by Aleshia K. Macom, Oregon CSR No.

4                94-0296, Washington CCR No. 2095, California CSR

5                No. 7955, RMR, CRR, RPR, on Friday, May 9, 2025,

6                commencing at the hour of 8:01 a.m., the witness

7                appearing at Perkins Coie, 2525 E. Camelback

8                Road, Unit 500, Phoenix, Arizona.

9

10

11                            APPEARANCES (Via videoconference)

12

13               APPEARING FOR PLAINTIFF THE STATE OF CALIFORNIA:

14                 DEPARTMENT OF JUSTICE ATTORNEY GENERAL

15                 By Elliott Dionisio

16                     Charles Miller (San Francisco)

17                 300 South Spring Street, Suite 1702

18                 Los Angeles, California 90013

19                 elliott.dionisio@doj.ca.gov

20                 charlesa.miller@doj.ca.gov

21

22

23

24

25

                          www.CapitalReportingCompany.com
                                   202-857-3376
     Case 2:23-cv-01495-JHC   Document 484 Filed 05/28/25   Page 49 of 53
                              HIGHLY CONFIDENTIAL                    May 9, 2025

                                                               Page 285

1                 APPEARING FOR PLAINTIFF FEDERAL TRADE

2                 COMMISSION:

3                   OFFICE OF THE ATTORNEY GENERAL FOR THE

4                   DISTRICT OF COLUMBIA

5                   By Estefania Torres Paez

6                   441 4th Street NW 10th Floor South

7                   Washington, DC 20001

8                   estefania.torrespaez@dc.gov

9                         And

10                  FEDERAL TRADE COMMISSION WASHINGTON, D.C.

11                  By Eric Zepp

12                  600 Pennsylvania Avenue, NW

13                  Washington, DC 20580

14                  ezepp@ftc.gov

15

16                APPEARING FOR PRIVATE PLAINTIFFS DE COSTER,

17                FRAME-WILSON AND BROWN:

18                  QUINN EMANUEL URQUHART & SULLIVAN, LLP

19                  By Alicia Cobb

20                  1109 First Avenue, Suite 210

21                  Seattle, Washington 98101

22                  aliciacobb@quinnemanuel.com

23

24

25

                          www.CapitalReportingCompany.com
                                   202-857-3376
     Case 2:23-cv-01495-JHC    Document 484 Filed 05/28/25   Page 50 of 53
                               HIGHLY CONFIDENTIAL                    May 9, 2025

                                                                 Page 286

1                  APPEARING FOR DEFENDANT:

2                     WILLIAMS & CONNOLLY LLP

3                     By Edward C. Reddington

4                             Cole Wintheiser

5                     680 Maine Avenue SW

6                     Washington, DC 20024

7                     ereddington@wc.com

8                     cwintheiser@wc.com

9

10                 Also Present:          Ed Burke - Videographer

11                                        Lee Roach

12                                        Elena Baughman

13                                               *     *     *

14

15

16

17

18

19

20

21

22

23

24

25

                          www.CapitalReportingCompany.com
                                   202-857-3376
     Case 2:23-cv-01495-JHC   Document 484 Filed 05/28/25   Page 51 of 53
                              HIGHLY CONFIDENTIAL                    May 9, 2025

                                                               Page 287

1                                   EXAMINATION INDEX

2                                                                       Page

3                Examination by Mr. Dionisio                            290

4

5

6

7                                      EXHIBIT INDEX

8                Exhibit No.       Item                                 Page

9                Exhibit 14        Chat messages                        351

10                                 AMZN-RTL-FTC-12669316 - 12669331

11                                 CAAGLit-AMZ_17166970 - 17166985

12

13

14

15               REPORTER'S NOTE:      All quotations from exhibits

16               are reflected in the manner in which they were

17               read into the record and do not necessarily

18               indicate an exact quote from the document.

19

20

21

22

23

24

25

                          www.CapitalReportingCompany.com
                                   202-857-3376
     Case 2:23-cv-01495-JHC    Document 484 Filed 05/28/25   Page 52 of 53
                               HIGHLY CONFIDENTIAL                    May 9, 2025

                                                                Page 291

1          Q.    And just a very quick note of thanks to Aleshia

2                and Ed for being nimble and joining at this

3                early hour.

4                        And, you know, I just, I'm just going to

5                spend some time this morning, today asking you

6                some questions and -- regarding various topics

7                that kind of, to continue what we started

8                yesterday.      And the first questions I want to

9                ask are do you remember during the course of

10               your questioning yesterday that we took some

11               breaks?      Do you remember that?

12         A.    Yes.

13         Q.    And at any of those breaks did you, without

14               discussing the substance or, you know, what was

15               discussed, did you discuss the substance of your

16               testimony with anyone?        And that can be a yes or

17               a no.

18         A.    Yes.

19         Q.    And who did you discuss the substance of your

20               testimony with?       Just the names.

21         A.    Ed Reddington, Cole Wintheiser and Lee Roach.

22         Q.    And can you discuss the substance of your

23               testimony during each of the breaks that we had?

24         A.    I don't recall precisely.         I don't, I don't

25               know.

                           www.CapitalReportingCompany.com
                                    202-857-3376
     Case 2:23-cv-01495-JHC    Document 484 Filed 05/28/25   Page 53 of 53
                               HIGHLY CONFIDENTIAL                    May 9, 2025

                                                                Page 292

1          Q.    Was it more than one?

2          A.    Yes.

3          Q.    Okay.     And at any of the breaks yesterday did

4                you discuss any of the exhibits that you

5                reviewed during your deposition yesterday with

6                anyone?      Did you discuss those exhibits with

7                anyone?

8          A.    Yes.

9          Q.    And did you -- Who did you discuss those

10               exhibits with?      Just the names.

11         A.    Ed Reddington, Cole Wintheiser and Lee Roach.

12         Q.    And did you discuss more than one exhibit?

13         A.    I don't recall precisely.         I remember one, but

14               not -- I don't know.

15         Q.    And at any of the breaks yesterday did you

16               review any other documents that were not

17               exhibits?

18         A.    Not that I recall.        No.

19         Q.    Okay.     And between the time we adjourned

20               yesterday in the evening and this morning when

21               we started just moments ago, did you discuss the

22               substance of your testimony with anyone?            Not

23               asking you what the substance is, but yes or no,

24               did you discuss the substance in that time?

25                       MR. REDDINGTON:     Objection; form.

                           www.CapitalReportingCompany.com
                                    202-857-3376
